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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

J.Y.C.C., et al.,                           )
                                            )
              Plaintiffs,                   )
                                            )
v.                                          )        Case No. 4:15 CV 1704 RWS
                                            )
DOE RUN RESOURCES, CORP.,                   )
et al.,                                     )
                                            )
              Defendants.                   )

                                        ORDER

       IT IS HEREBY ORDERED that Plaintiffs shall have until March 1, 2021

to produce any outstanding profile sheets for plaintiffs in Trial Groups A-K.

       IT IS FURTHER ORDERED that the Court will hold a Status Conference

on Wednesday, February 17, 2021, at 2:00 p.m. by video via Zoom. The parties

shall submit a proposed agenda no later than February 12, 2021. Hearing

participants received a separate email with a link to join the hearing by Zoom.

Pursuant to Local Rule 13.02, all means of photographing, recording, broadcasting,

and televising are prohibited in any courtroom, and in areas adjacent to any

courtroom, except when authorized by the presiding judge. This includes

proceedings ordered by the Court to be conducted by phone or video.


                                          RODNEY W. SIPPEL
                                          UNITED STATES DISTRICT JUDGE
Dated this 19th day of January, 2021.
